Case 2:18-mj-02229-DUTY Document 3 Filed 09/26/18 Page 1 of 2 Page |D #:131

CaSe 2118-mj-02229-DUTY *SEALED* DOCument 1-1 *SEALED* Fil€d 08/22/18 Page l Of 33

AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO CDCA Rev. 01|;;€`19)€ |D #`33

UNITED STATES DISTRICT COURT

for the
Central District of California

In the Matter of the Search of

(Briefly describe the properly to be searched
or identify the person by name and address)

The property located at 3834 West 116th Street in
Hawthorne, Ca|ifornia, as described more fully in
Attachment A

Case No. 2118-mj-2229

SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search

 

of the following person or property located in the Centra| District of Ca|ifomia
(identijy the person or describe the property to be searched and give its location)!
See Attachment A

The person or property to be searched, described above, is believed to conceal (idenzijj/ the person or describe the
property to be seized)§
See Attachment B

l find that the affidavit(S), or any recorded testimony, establish probable cause to search and seize the person or
property. Such affidavit(s) or testimony are incorporated herein by reference

\
YOU ARE COMMANDED to execute this Warrant on or before 14 days from the date of its issuance

 

(not to exceed 14 days)

if in the daytime 6:OO a.m. to lO p.m. [J at any time in the day or night as I find reasonable cause has been
established

Unless delayed notice is authorized below, you must give a copy of the Warrant and a receipt for the property
taken to the person from whom, or from Whose premises, the property Was taken, or leave the copy and receipt at the
place Where the property was taken.

The officer executing this warrant, or an officer present during the execution of the Warrant, must prepare an
inventory as required by law and promptly return this Warrant and inventory to United States Magistrate Judge
on duty at the time of the return through a filing With the C|erk's Office.

(name)

 

ij l find that immediate notification may have an adverse result listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this Warrant to delay notice to e person Who, or Whose property, Will be
S€aI'Ch€d OI` S€iZ€d (check the a ropriate box) l:l fOl‘ dayS (not to ex ee 3 .

El until, the facts justifying, t at spe ific date of

Date and time issued: i z
\' \ \

Jud e ’s si nature
assist ii writer
City and state: LOS Angeles, Ca|ifornia
Printed name and title

SAUSA: S. Fernandez x3152

Case 2:18-mj-O2229-DUTY Document 3 Filed 09/26/18 Page 2 of 2 Page |D #:132
Case 2:18-mj-02229-DUTY *SEALED* Document 1-1 *SEALED* Filed 08/22/18 Page 2 of 33

 

 

 

 

 

v Page |D #:34
AO 93 (Rev. 12/09) Search and Sezzure Warrant (Page 2)
Return
Case No. .‘ Date and time warrant executed.' Copy ofwarrant-and-irwentei§s left with.'
2;18-mj-2229 03 /13 /¢0¢3_ 04 cas mv\ mims ib mt S-ro ¢zs
[nventory made in the presence of.'
al l A

 

Inventory of the property taken and name of any person(s) seized:

[Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authorized to be
seized pursuant to the warrant (e.g., type of documents, as opposed to “miscellaneous documents”) as well as the approximate
volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
number of pages to the attachment and any case number appearing thereon.]

l~l/A 1140 Pa.,?ear~r Tm¢.a~i ma ?¢P~Se~S Sc\%¢\>i

 

Certi]‘icalion (by officer present during the execution of the warrant)

 

1 declare under penalty of perjury that 1 am an o]j‘icer who executed this warrant and that this inventory is correct and
was returned along with the original warrant to the designated judge through a filing with the Clerk's O/j(z`ce.

Date.- °\/\"l /9.0\% §

/ Executing o]j‘l`cer ’s signature

Gmtl‘t D. WALL.M.E FB\ S\’¢'Lu\l_ A“=N‘\'

Printed name and title

 

 

 

SAUSA: S. Fernandez x3152

